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                      EXHIBIT G
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                                                                                                             USOO8676538B2


(12) United States Patent                                                             (10) Patent No.:                   US 8,676,538 B2
       Purdy                                                                          (45) Date of Patent:                        Mar. 18, 2014
(54) ADJUSTING WEIGHTING OFA                                                               IPC ..................... B23B 49/00; B23Q 15/00,15/007,
       PARAMETER RELATING TO FAULT                                                                      B23Q 15/12, 17/00, 17/904, 17/952, 17/10,
       DETECTION BASED ON ADETECTED                                                                   B23Q 17/12, 17/20: G05B 13/00; G06F 11/00,
       FAULT                                                                                             G06F 11/30, 11/3058, 11/32, 17/00, 17/40,
                                                                                                                                         GO6F 19/OO
(75) Inventor: Matthew A. Purdy, Austin, TX (US)                                           See application file for complete search history.
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(73) Assignee: Advanced Micro Devices, Inc.,
               Sunnyvale, CA (US)                                                                       U.S. PATENT DOCUMENTS

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                   U.S.C. 154(b) by 1564 days.
                                                                                                                (Continued)
(21) Appl. No.: 10/979,309                                                                            FOREIGN PATENT DOCUMENTS
(22) Filed:        Nov. 2, 2004                                                WO              WOO3,058699 A1           T 2003
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(65)                  Prior Publication Data                                   WO             WO 2004/105101 A2        12/2004
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                                                                               XPO 10344696.
       G06F 9/00                 (2011.01)
     B23O 1700                   (2006.01)                                                         (Continued)
(52) U.S. Cl.
       USPC ................ 702/183; 73/865.9; 438/5; 438/14:                 Primary Examiner — Edward Cosimano
                700/96; 700/110; 700/121; 702/182: 702/185:                    (57)                            ABSTRACT
                                           702/187; 702/189
(58) Field of Classification Search                                            A method, apparatus and a system, for provided for perform
       USPC ........... 702/185, 1,33, 34, 35, 36, 40, 57,58,                  ing a dynamic weighting technique for performing fault
                 702/59, 81, 82, 83, 84, 108, 113, 114, 115,                   detection. The method comprises processing a workpiece and
               702/117, 118, 127, 179, 181, 182, 183,187,                      performing a fault detection analysis relating to the process
                702/189: 73/865.8, 865.9; 438/5, 6, 7, 8, 9,
                                                                               ing of the workpiece. The method further comprises deter
                                                                               mining a relationship of a parameter relating to the fault
                        438/10, 11, 12, 13, 14, 15, 16, 17, 18;                detection analysis to a detected fault and adjusting a weight
                       700/1, 11, 21, 79,90, 95, 96, 108, 109,                 ing associated with the parameter based upon the relationship
               700/110, 117, 118, 119, 120, 121, 159, 174,                     of the parameter to the detected fault.
                700/175; 708/100, 105, 200; 714/1, 25, 37,
                                                  714/48, 100                                 31 Claims, 8 Drawing Sheets
                       so
                            N.                        Analyze Fault Data to determine if it is a
                                                                  significant fault
                                                                                                         a


                                      80
                                                              Receive External Input
                                                      regarding causes or non-causes of faults)
                                             S.:                                                        ES


                                                  Determine whether to add, subtract, or not change
                                                              factors relating to faults


                                                           Dynamically reduce weight to
                                                             factor(s) that caused fault




                                      870
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          y                       wa
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                                                               HALCHRI[15)I
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                              1.                                                                2
          ADJUSTING WEIGHTING OFA                                locations at a time, depending on the specific photomask
         PARAMETER RELATING TO FAULT                             employed. The patterned photoresist layer can be used as a
        DETECTION BASED ON ADETECTED                             mask during etching processes, wet or dry, performed on the
                    FAULT                                        underlying layer or layers of material, e.g., a layer of poly
                                                                 silicon, metal, or insulating material, to transfer the desired
           BACKGROUND OF THE INVENTION                           pattern to the underlying layer. The patterned layer of photo
                                                                 resist is comprised of a plurality of features, e.g., line-type
   1. Field of the Invention                                     features or opening-type features that are to be replicated in
   This invention relates generally to semiconductor manu an underlying process layer.
facturing, and, more particularly, to a method, system, and 10 When processing semiconductor wafers, various measure
apparatus for performing a process to improve fault detection ments relating to the process results on the semiconductor
reliability through feedback.                                    wafers, as well as conditions of the processing tool in which
   2. Description of the Related Art                             the wafers are processed, are acquired and analyzed. The
   The technology explosion in the manufacturing industry analysis is then used to modify Subsequent processes. Turning
has resulted in many new and innovative manufacturing pro 15 now to FIG. 2, a flow chart depiction of a state-of-the-art
cesses. Today's manufacturing processes, particularly semi process flow is illustrated. A processing system may process
conductor manufacturing processes, call for a large number various semiconductor wafers 105 in a lot of wafers (block
of important steps. These process steps are usually vital, and 210). Upon processing of the semiconductor wafers 105, the
therefore, require a number of inputs that are generally fine processing system may acquire metrology data relating to the
tuned to maintain proper manufacturing control.                  processing of the semiconductor wafers 105 from selected
   The manufacture of semiconductor devices requires a wafers in the lot (block 220). Additionally, the processing
number of discrete process steps to create a packaged semi system may acquire tool state sensor data from the processing
conductor device from raw semiconductor material. The vari       tool used to process the wafers (block 230). Tool state sensor
ous processes, from the initial growth of the semiconductor data may include various tool state parameters such as pres
material, the slicing of the semiconductor crystal into indi 25 Sure data, humidity data, temperature data, and the like.
vidual wafers, the fabrication stages (etching, doping, ion         Based upon the metrology data and the tool state data, the
implanting, or the like), to the packaging and final testing of processing system may perform fault detection to acquire
the completed device, are so different from one another and data relating to faults associated with the processing of the
specialized that the processes may be performed in different semiconductor wafers 105 (block 240). Upon detecting vari
manufacturing locations that contain different control 30 ous faults associated with processing of the semiconductor
schemes.                                                         wafers 105, the processing system may perform a principal
   Generally, a set of processing steps is performed across a component analysis (“PCA) relating to the faults (block
group of semiconductor wafers, sometimes referred to as a 250). Principal component analysis (PCA) is a multivariate
lot. For example, a process layer that may be composed of a technique that models the correlation structure in the data by
variety of different materials may be formed across a semi 35 reducing the dimensionality of the data. The correlation may
conductor wafer. Thereafter, a patterned layer of photoresist take on various forms, such as correlation of problems with
may be formed across the process layer using known photo the processed wafers with problems in the processing tool.
lithography techniques. Typically, an etch process is then The PCA may provide an indication of the types of correc
performed across the process layer using the patterned layer tions that may be useful in processing Subsequent semicon
of photoresist as a mask. This etching process results in the 40 ductor wafers 105. Upon performing the PCA, the processing
formation of various features or objects in the process layer.   system may perform Subsequent processes upon the semicon
Such features may be used as, for example, a gate electrode ductor wafers 105 with various adjustments being based upon
structure for transistors. Many times, trench isolation struc the PCA (block 260). The PCA performs an analysis to deter
tures are also formed in various regions of the semiconductor mine whether there are abnormal conditions that may exist
wafer to create electrically isolated areas across a semicon 45 with respect to a tool. Upon detecting any abnormal condi
ductor wafer. One example of an isolation structure that can tions, various signals may be issued, indicating to the opera
be used is a shallow trench isolation (STI) structure.           tors that various faults have been detected.
   The manufacturing tools within a semiconductor manufac           One issue associated with state-of-the-art methods
turing facility typically communicate with a manufacturing includes the fact that a determination of what constitutes an
framework or a network of processing modules. Each manu 50 abnormal correlation may be based upon data used to build a
facturing tool is generally connected to an equipment inter fault detection model or a PCA model used to perform the
face. The equipment interface is connected to a machine fault detection analysis and the PCA. Generally, the abnormal
interface to which a manufacturing network is connected, conditions detected by performing the PCA may be statisti
thereby facilitating communications between the manufac cally different from the data that may have been used to build
turing tool and the manufacturing framework. The machine 55 the fault detection or the PCA model. The term “statistically
interface can generally be part of an advanced process control different may mean a variety of statistical differences, such
(APC) system. The APC system initiates a control script, as differences based upon population mean, variance, etc.
which can be a Software program that automatically retrieves These abnormal conditions may not be an accurate reflection
the data needed to execute a manufacturing process.              of the true manner of operation in which the tool is perform
   FIG. 1 illustrates a typical semiconductor wafer 105. The 60 ing. For example, if during the development of the fault
semiconductor wafer 105 typically includes a plurality of detection model or the PCA model, the values for a pressure
individual semiconductor die 103 arranged in a grid 150.         sensor were held within Small constraints, larger variations in
Using known photolithography processes and equipment, a the pressure during the actual processing would generally be
patterned layer of photoresist may be formed across one or identified as a significant fault. The problem with this meth
more process layers that are to be patterned. As part of the 65 odology is that if the larger variation of the pressure did not
photolithography process, an exposure process is typically result in any negative impact to the material being processed,
performed by a stepper on approximately one to four die 103 then the fault indication may be false. In other words, if the
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larger variation was still Small enough that no significant between a parameter relating to the fault detection analysis
impact to the process was present, a false-positive fault indi and a detected fault. The controller also adjusts a weighting
cation occurs. This false-positive introduces inefficiencies associated with the parameter based upon the relationship of
and idle times in a manufacturing setting.                         the parameter to the detected fault.
   More recently, various efforts have been made to incorpo          In another aspect of the present invention, a system is
rate weighting schemes into PCA. The weighting schemes provided for performing a dynamic weighting technique for
may provide a significant difference in weight attached to performing fault detection. The system comprises a process
various parameters, such as the pressure. However, the prob ing tool communicatively coupled to a controller, a metrology
lems associated with the state-of-the-art weighting schemes tool, and a tool state data sensor unit. The processing tool
include the fact that prior knowledge is required to assign a 10 performs a process upon a workpiece. The metrology tool
predetermined weight to a particular parameter. For example, acquires metrology data relating to the process performed on
prior knowledge may indicate that a smalleramount of weight the workpiece to provide metrology data. The tool state data
should be assigned to the pressure parameter during the PCA sensor unit acquires tool state data. The controller performs a
analysis relating to a particular process. This would reduce fault detection analysis relating to the processing of the work
false indications due to variations in pressure that may have 15 piece to determine a relationship between a parameter relat
been harmless. However, this methodology can be an ineffi ing to the fault detection analysis and a detected fault. The
cient, cumbersome task and, at best, may involve guess work. controller also adjusts a weighting associated with the param
Furthermore, it may not be readily clear if adjusting the eter based upon the relationship of the parameter to the
weight to particular parameters would result in improved or detected fault.
worsened PCA relating to a particular process.                       In yet another aspect of the present invention, a computer
   The present invention is directed to overcoming, or at least readable program storage device encoded with instructions is
reducing, the effects of, one or more of the problems set forth provided for performing a dynamic weighting technique for
above.                                                             performing fault detection. The instructions perform a
                                                                   method comprising a processing tool communicatively
             SUMMARY OF THE INVENTION                           25 coupled to a controller, a metrology tool, and a tool state data
                                                                   sensor unit. The processing tool performs a process upon a
   In one aspect of the present invention, various methods are workpiece. The metrology tool acquires metrology data relat
disclosed for employing a dynamic weighting technique in ing to the process performed on the workpiece to provide
connection with fault detection analysis. In an illustrative metrology data. The tool state data sensor unit acquires tool
embodiment, the method comprises processing a workpiece 30 state data. The controller performs a fault detection analysis
and performing a fault detection analysis relating to the pro relating to the processing of the workpiece to determine a
cessing of the workpiece. The method further comprises relationship between a parameter relating to the fault detec
determining a relationship of a parameter relating to the fault tion analysis and a detected fault. The controller also adjusts
detection analysis to a detected fault and adjusting a weight a weighting associated with the parameter based upon the
ing associated with the parameter based upon the relationship 35 relationship of the parameter to the detected fault.
of the parameter to the detected fault.
   In another aspect of the present invention, a method is                BRIEF DESCRIPTION OF THE DRAWINGS
provided for performing a dynamic weighting technique for
performing fault detection. The method comprises processing          The invention may be understood by reference to the fol
a workpiece and performing a fault detection analysis relating 40 lowing description taken in conjunction with the accompany
to the processing of the workpiece based upon a tool state ing drawings, in which like reference numerals identify like
parameter being input into a fault detection model associated elements, and in which:
with the fault detection analysis. The method further com            FIG. 1 is a simplified diagram of a prior art semiconductor
prises determining whether said parameter is associated with wafer being processed;
a detected fault as a result of performing the fault detection 45 FIG. 2 illustrates a simplified flowchart depiction of a prior
analysis and modifying a weighting of the parameter in the art process flow during manufacturing of semiconductor
fault detection model based upon a determination that the wafers;
parameter is associated with the detected fault.                     FIG.3 provides a block diagram representation of a system
   In yet another aspect of the present invention, a method is in accordance with one illustrative embodiment of the present
provided for performing a dynamic weighting technique for 50 invention;
performing fault detection. The method comprises processing          FIG. 4 illustrates a principal component analysis matrix
a workpiece and performing a fault detection analysis relating table, which depicts a list of tool state variables being corre
to the processing of the workpiece based upon a tool state lated with data relating to various processed semiconductor
parameter being input into a fault detection model associated wafers, inaccordance with one illustrative embodiment of the
with the fault detection analysis. The method further com 55 present invention;
prises performing a principal component analysis (PCA) in            FIG. 5 illustrates a more detailed block diagram represen
conjunction with the fault detection analysis and determining tation of a tool state data sensor unit of FIG. 3, in accordance
whether the parameter is associated with a detected fault as a with one illustrative embodiment of the present invention;
result of performing the fault detection analysis and the PCA.       FIG. 6 illustrates a more detailed block diagram represen
The method further comprises modifying a weighting of the 60 tation of a dynamic PCA weighting unit of FIG. 3, in accor
parameter in the fault detection model based upon a determi dance with one illustrative embodiment of the present inven
nation that the parameter is associated with the detected fault. tion;
   In another aspect of the present invention, an apparatus is       FIG. 7 illustrates a flowchart depiction of a method in
provided for performing a dynamic weighting technique for accordance with one illustrative embodiment of the present
performing fault detection. The apparatus comprises a con 65 invention; and
troller that performs a fault detection analysis relating to a       FIG. 8 illustrates a more detailed flowchart depiction of a
processing of a workpiece to determine a relationship method of performing a dynamic PCA weighting process, as
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indicated in FIG. 7, in accordance with one illustrative              corrections to those parameters. This may have the effect of
embodiment of the present invention.                                  reducing the number and/or the magnitude of faults caused by
  While the invention is susceptible to various modifications         those parameters. Similarly, over time, the weighting of the
and alternative forms, specific embodiments thereof have              model parameters may be modified to reduce the frequency of
been shown by way of example in the drawings and are herein           false positive fault indications, thereby reducing unnecessary
described in detail. It should be understood, however, that the       downtime and inefficiencies during the manufacturing of
description herein of specific embodiments is not intended to semiconductor wafers 105.
limit the invention to the particular forms disclosed, but on the        Turning now to FIG. 3, a block diagram depiction of a
contrary, the intention is to cover all modifications, equiva system 300 in accordance with illustrative embodiments of
lents, and alternatives falling within the spirit and scope of the 10 the present invention is illustrated. A process controller 305 in
invention as defined by the appended claims.                          the system 300 is capable of controlling various operations
         DETAILED DESCRIPTION OF SPECIFIC                             relating to a processing tool 310. The process controller 305
                        EMBODIMENTS                                   may comprise a computer system that includes a processor,
                                                                   15 memory, and various computer-related peripherals. More
   Illustrative embodiments of the invention are described            over, although a single process controller 305 is schemati
below. In the interest of clarity, not all features of an actual cally depicted in FIG. 3, in practice, the function performed
implementation are described in this specification. It will of by the process controller 305 may be performed by one or
course be appreciated that in the development of any Such more computers or workstations spread throughout the manu
actual embodiment, numerous implementation-specific deci facturing system.
sions must be made to achieve the developers specific goals,             Semiconductor wafers 105 are processed by the processing
Such as compliance with system-related and business-related tool 310 using a plurality of control input signals, or manu
constraints, which will vary from one implementation to facturing parameters, provided via a line or network315. The
another. Moreover, it will be appreciated that such a develop control input signals, or manufacturing parameters, on the
ment effort might be complex and time-consuming, but 25 line 315 are sent to the processing tool 310 from a process
would nevertheless be a routine undertaking for those of controller 305 via machine interfaces that may be located
ordinary skill in the art having the benefit of this disclosure.      inside or outside the processing tool 310. In one embodiment,
   There are many discrete processes that are involved in semiconductor wafers 105 may be provided to the processing
semiconductor manufacturing. Many times, workpieces tool 310 manually. In an alternative embodiment, semicon
(e.g., semiconductor wafers 105, semiconductor devices, 30 ductor wafers 105 may be provided to the processing tool 310
etc.) are stepped through multiple manufacturing process in an automatic fashion (e.g., robotic movement of semicon
tools. Embodiments of the present invention provide for per ductor wafers 105). In one embodiment, a plurality of semi
forming a dynamic adjustment of the weighting of one or conductor wafers 105 is transported in lots (e.g., stacked in
more parameters associated with fault detection and/or per cassettes) to the processing tools 310. Examples of the pro
forming a principal component analysis (PCA). The weight 35 cessing tool used in semiconductor manufacturing processes
ing of various parameters that may be used in a fault detection may be photolithography tools, ion implant tools, steppers,
model and/or a PCA model may be automatically determined etch process tools, deposition tools, chemical-mechanical
and the weighting of the parameters may be adjusted dynami polishing (CMP) tools, and the like.
cally. For example, after a fault condition is identified by a           The system 300 is capable of acquiring manufacturing
processing system, an automatic input or a manual input may 40 related data, Such as metrology data, related to processed
be provided to the processing system to indicate whether the semiconductor wafers 105, tool state data, and the like. The
detected fault was a significant fault or an insignificant fault.     system 300 may also comprise a metrology tool 350 to
Based upon this indication, a weighting fault matrix, which acquire metrology data related to the processed semiconduc
contains data correlating various tool state parameters to par tor wafers 105. The system 300 may also comprise a tool state
ticular wafers, may be modified to make the detection of 45 data sensor unit 320 for acquiring tool state data. The tool
similar faults more likely, or alternatively, less likely. There state data may include pressure data, temperature data,
fore, in multi-variate fault detection and/or PCA models, one         humidity data, gas flow data, various electrical data, a level of
or more parameters that contributed to the fault condition and out-gas data, and other types of data, related to operations of
their relative importance to the fault may be detected and a the processing tool 310. Exemplary tool state data for an etch
dynamic adjustment of the weighting of those parameters that 50 tool may include gas flow, chamber pressure, chamber tem
contributed the fault may be increased proportionally. Like perature, Voltage, reflected power, backside helium pressure,
wise, one or more parameters that did not significantly con RF tuning parameters, etc. The tool state data may also
tribute to the fault condition and their relative non-importance include data external to the processing tool 310. Such as
to the fault may be characterized and a dynamic adjustment of ambient temperature, humidity, pressure, etc. A more detailed
the weighting of those parameters may be decreased propor 55 illustration and description of the tool state data sensor unit
tionally. In other words, the weighting of the parameters that 320 is provided in FIG. 5 and accompanying description
were found not to have contributed to a fault may be below.
decreased. Therefore, a stronger signal would be required                The system 300 may also comprise a database unit 340.
relating to those parameters to generate a fault indication.          The database unit 340 is provided for storing a plurality of
   Embodiments of the present invention provide for the abil 60 types of data, such as manufacturing-related data, data related
ity to perform dynamic weighting adjustments without to the operation of the system 300 (e.g., the status of the
requiring prior knowledge of which particular parameters to processing tool 310, the status of semiconductor wafers 105,
adjust before the fault detection and/or the PCA model is etc.). The database unit 340 may store parameter data relating
executed. Over time, weighting of the model parameters may to parameters used in fault detection and PCA models, as well
be modified to increase the sensitivity of parameters that have 65 as tool state data relating to a plurality of process runs per
been found to have contributed significantly to fault condi formed by the processing tool 310. The database unit 340 may
tions, thereby causing the processing system to focus process comprise a database server 342 for storing tool state data
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and/or other manufacturing data related to processing semi             X=X-X.                                                 (1)
conductor wafers 105, into a database storage unit 345.         where the columns of Xare typically normalized to Zero mean
   The system 300 also comprises a fault detection unit 380, and unit variance. The matrices X and X are the modeled and
which is capable of performing various fault detection asso un-modeled residual components of the X matrix, respec
ciated with the processing tool 310 when processing the semi tively. The modeled and residual matrices can be written as:
conductor wafers 105. The fault detection unit 380 may com
prise a fault detection model 385 that is capable of performing        K=TP and X=iff,                                        (2)
a modeling function when performing the fault detection.
Various parameters may be inputted into the fault detection where       TeR'' and PeR" are the score and loading matrices,
                                                                respectively, and 1 is the number of principal components
model 385. For example, various predetermined ranges for 10 retained      in the model. It follows that TeR"*" and PeR"
pressure, temperature, humidity, and/or gas flow, may be
provided to the model such that the model may assert a fault    (n-1) are the residual score and loading matrices, respectively.
detection condition based upon the fault data received by the eigenvectors ofmatrices,
                                                                   The   loading            P and P. are determined from the
fault detection unit 380. The fault detection model 385 may be approximated by:the correlation matrix, R, which can be
a multi-variate model that performs fault modeling based 15
upon various parameters. In one embodiment, the fault detec
tion unit 380 is capable of correlating metrology data results
with tool state sensor data to characterize a fault.                        R at --xx                                             (3)
                                                                              in - 1
   The system 300 may also comprise a PCA controller 360,
which operates in conjunction with the fault detection unit
380 to perform a principal componentanalysis in determining The first eigenvectors of R (corresponding to the largest
any abnormal conditions or faults relating to the processing of eigenvalues) are the loadings, P. and the eigenvectors corre
semiconductor wafers 105. The PCA controller 360 may sponding to the remaining m-1 eigenvalues are the residual
comprise a PCA model 365 that is capable of performing a loadings, P.
modeling function when performing the PCA. Various 25 The number of principal components (PCs) retained in the
parameters and manufacturing data may be inputted into the model is an important factor in fault detection with PCA. If
PCA model 365. For example, various predetermined ranges too few PCs are retained, the model will not capture all of the
for pressure, temperature, humidity, and/or gas flow, may be information in the data, and a poor representation of the
provided into the model such that the model may asserta fault process will result. On the other hand, if too many PCs are
condition based upon the PCA. Manufacturing data is defined 30 chosen, then the model will be over parameterized and will
to comprise various types of data including metrology data, include noise. The variance of reconstruction error (VRE)
fault data, sensor data, and the like. A more detailed descrip criterion for selecting the appropriate number of PCs is based
tion relating to the weighted PCA analysis in accordance with on omitting parameters and using the model to reconstruct the
an illustrative embodiment of the present invention is pro missing data. The number of PCs, which results in the best
vided below.                                                    35 data reconstruction, is considered the optimal number of PCs
   The system 300 may also comprise a dynamic PCA to be used in the model. Other, well-established methods for
weighting module 370, which is capable of receiving data selecting the number of PCs include the average eigenvalues
automatically and/or manually relating to information indi method, cross validation, etc.
cating whether a particular parameter that was considered            When performing PCA using weighted parameters,
abnormal is indeed a significant factor in any detected faults. 40 instead of having parameters in the columns of X being nor
The dynamic PCA weighting module 370 is capable of malized to Zero mean and unit variance, the parameters in the
adjusting the weighting of various parameters that are ana columns are divided by a number other than the variance of
lyzed by the PCA controller 360. The weighting may also each column. In other words, parameters in the columns are
affect the parameter ranges inputted into the fault detection divided by a number that is not the standard deviation. This
model 385 and/or the PCA model 365. A more detailed 45 provides a weighted parameter in the columns of X. For
description of the dynamic PCA Weighting module 370 is example, if pressure parameter is closely correlated to a fault,
provided in FIG. 5 and accompanying description below.             the column of X that defines the pressure may be divided by
   Various elements of the system 300, such as the process a value that is not the standard deviation, thereby increasing
controller 305, the fault detection unit 380, the PCA control      the sensitivity of the fault analysis with respect to the pressure
ler 360, and the dynamic PCA Weighting module 370 may be 50 parameter. On the other hand, if pressure parameter is deter
Software, hardware, or firmware unit(s) that are standalone mined to be a factor that is least likely of being associated with
units or may be integrated into a computer system associated a fault, the column of X that defines the pressure may be
with the system 300. Furthermore, the various components divided by yet another value that is not the standard deviation,
represented by the blocks illustrated in FIG.3 may commu thereby decreasing the sensitivity of the fault analysis with
nicate with one another via a system communications line 55 respect to the pressure parameter.
315. The system communications line 315 may be one or                One of the calculations that are performed when perform
more computer bus links, one or more dedicated hardware ing a PCA algorithm is scaling of the data that is fed into the
communications links, one or more telephone system com PCA model 365. For example, as illustrated in FIG. 4, a
munications links, one or more wireless communications             matrix X described above may contain data in a first column
links, and/or other communication links that may be imple 60 relating to pressure data, a second column relating to humid
mented by those skilled in the art having benefit of the present ity data, a third column relating to temperature data, a fourth
disclosure.                                                          column relating to gas flow rate data, an so on, up to an m'
   The Principal component analysis performed by the PCA column relating to another parameter. Each row relating to the
controller 360 includes a multivariate technique that models columns may indicate data relating to the condition of a
the correlation structure in the data by reducing the dimen 65 semiconductor wafer 105 in a lot; in an alternative embodi
sionality of the data. A data matrix, X, of n samples (rows)and ment, the rows may define various lots of semiconductor
m variables (columns) can be decomposed as follows:             wafers 105. The rows may comprise data relating to a first
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semiconductor wafer 105, a second semiconductor wafer              also comprise a tool state sensor data interface 560. The tool
105, a third semiconductor wafer 105, through an n' semi           state sensor data interface 560 may receive sensor data from
conductor wafer 105.                                               the various sensors that are contained within, or associated
   The PCA model 365 may scale the parameters indicated in with, the processing tool 310, and/or the tool state data sensor
FIG. 4 to provide greater or lesser weight attached to any 5 unit 320 and transmit the data to the process controller 305.
particular parameter in the column of the matrix, X. Different        Turning now to FIG. 6, a more detailed block diagram
weights may be attached to different parameters based upon a representation of the dynamic PCA weighting module 370 in
particular type of process being performed by the processing accordance with an illustrative embodiment of the present
tool 310. For example, the pressure parameter may be invention is provided. As indicated in FIG. 6, the dynamic
assigned a different weighting for PCA analysis for a depo 10 PCA weighting module 370 may comprise a fault data analy
sition process as compared to the weighting assigned to the sis module 610, a fault data input interface 620, and a PCA
pressure parameter during a photolithograph process. How weight calculation module 630. Based upon the faults com
ever, during the photolithography process, the temperature pared to various algorithms and fault data processed by the
data may be assigned a higher or lower weighting as com fault data analysis module 610, a determination is made as to
pared to the deposition process. One method of Scaling may 15 whether a particular parameter that was considered abnormal
include Scaling each column to a non-unit variance. To by the fault detection unit 380 in conjunction with the PCA
accomplish this, instead of dividing by the variance of each controller 360, is substantially associated with the fault or not.
column, a division by another number based on the particular Based upon that determination, the PCA weight calculation
weighting assigned to the parameter may be performed. For module 630 may reduce or increase the weight associated
example, if temperature is considered a more important with that particular parameter. This information may be sent
parameter, the temperature parameter in the temperature data to the PCA controller 360 and to the fault detection unit 380.
column (i.e., the 3" column in the matrix, X) may be divided Alternatively, an external data input on a line 625 may be
by a number different from the standard deviation for that provided to the dynamic PCA-weighting module 370 as a
column. In order to cause the fault detection algorithm to be manual input to indicate whether a particular parameter that
more sensitive to variability to a given parameter, a column in 25 was flagged as abnormal, did indeed contributed considerably
the matrix X may be divided by a number that is smaller than to a particular fault. The fault data input interface 620 is
the variance calculated from that particular column. In order capable of receiving the external data input and is capable of
to cause the fault detection algorithm to be less sensitive to providing the data to the PCA weight calculation module 630,
variability to a given parameter, a column in the matrix X may which appropriately adjusts the weighting of the particular
be divided by a number that is larger than the variance calcu 30 parameter.
lated from that particular column. Throughout the rest of the         Therefore, the dynamic PCA weighting module 370 may
PCA algorithms, small variations in the temperature may be determine data and/or receive data that may be used to adjust
more likely to be recognized as a fault as compared to the the weight attached to a particular parameter. This informa
variation of a parameter that was not weighted in the same tion may be used by the fault detection unit 380 and/or the
fashion. In one embodiment, the PCA controller 360 is 35 PCA controller 360 to perform analysis relating to any abnor
capable of prompting the dynamic PCA weighting module mality (and/or faults) during the processing of semiconductor
370 to adjust the weighting of the parameters in the columns wafers 105. In other words, after the fault condition is iden
of FIG. 4, in a manual and/or in a dynamic, automated fash tified, the PCA weight calculation module 630 receives infor
1O.                                                                 mation from the fault data analysis module 610 and/or the
   Turning now to FIG. 5, a more detailed block diagram 40 fault data input interface 620 as to whether the fault was an
depiction of the tool state data sensor unit 320 illustrated in actual fault and/or whether any parameters associated with
FIG. 3 is provided. The tool state data sensor unit 320 may the abnormality or the fault contributed significantly to that
comprise any of a variety of different types of sensors, e.g., a fault or abnormality. Based upon this data, the PCA weight
pressure sensor 510, a temperature sensor 520, a humidity calculation module 630 may decrease or increase the weight
sensor 530, a gas flow rate sensor 540, and an electrical sensor 45 ing of the parameter or, alternatively, leave the weighting of
550, etc. In an alternative embodiment, the tool state data         the parameter unchanged.
sensor unit 320 may comprise in situ sensors that are inte            Turning now to FIG. 7, a flow chart representation of the
grated into the processing tool 310. The pressure sensor 10 is methods associated with embodiments of the present inven
capable of detecting the pressure within the processing tool tion is illustrated. The system 300 may process one or more
310. The temperature sensor 520 is capable of sensing the 50 semiconductor wafers 105 (block 710). Based upon process
temperature in various locations of the processing tool 310. ing of the semiconductor wafers 105, the system 300 may
The humidity sensor 530 is capable of detecting the relative acquire metrology data relating to the process performed on
humidity at various portions in the processing tool 310, or of the semiconductor wafers 105 (block 720). Additionally, the
the Surrounding ambient conditions. The gas flow rate sensor system 300 may also acquire tool state sensor data relating to
540 may comprise a plurality of flow-rate sensors that are 55 the process performed by the processing tool 310 (block 730).
capable of detecting the flow-rate of a plurality of process Based upon the metrology data and/or the tool state sensor
gases utilized during processing of semiconductor wafers data, the system 300 may perform fault detection relating to
105. For example, the gas flow rate sensor 540 may comprise the processing of semiconductor wafers 105 (block 740). The
sensors that can detect the flow rate of gases such as NH           system 300 may also execute a PCA algorithm in conjunction
SiH, N, NO, and/or other process gases.                          60 with the fault detection to detect any abnormalities or faults
   In one embodiment, the electrical sensor 550 is capable of associated with the processing of semiconductor wafers 105
detecting a plurality of electrical parameters, such as the (block 750).
current provided to a lamp used in a photolithography pro             The system 300 may also perform a dynamic PCA-weight
cess. The tool state data sensor unit 320 may also comprise ing process to adjust the weighting of any particular param
other sensors capable of detecting a variety of manufacturing 65 eter(s) that may be used by the fault detection and the PCA
variables known to those skilled in the art having benefit of models to analyze the operation of the processing tool 310
the present disclosure. The tool state data sensor unit 320 may (block 760). A more detailed illustration and description of
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the dynamic PCA-weighting process is provided in FIG. 8               The system 300 alternatively, or in conjunction to the step
and accompanying description below. Based upon the described in block 810, may receive an external input relating
dynamic PCA-weighting process, various adjustments to the to the causes or non-causes of the faults (block 820). In other
weighting of particular parameters may be made to more words, the system 300 may receive an indication from an
accurately assess any faults associated with processing of 5 external source, which could be an external computer, a con
semiconductor wafers 105. Upon dynamically adjusting the troller, or a manual input from an operator, indicating whether
weighting of the PCA parameters, the system 300 may per the detected fault is an actual fault and/or whether any param
form subsequent processes on the semiconductor wafers 105 eters associated with the fault or abnormality provides sig
based upon the newly adjusted parameter-weighting for more nificant contribution to the fault or abnormality. Based upon
accurately assessing the faults or abnormalities associated 10 this data, the system 300 then determines whether to increase,
with the processing of semiconductor wafers 105 (block 770). decrease, or leave unchanged the weighting relating to the
   Turning now to FIG. 8, a more detailed flow chart illustra factors or parameters relating to the faults (block 830).
tion of the dynamic PCA-weighting process is provided. The            If the system 300 determines, or is informed, that a par
system 300 analyzes the fault data resulting from the fault ticular parameter did indeed provide a significant contribu
data analysis and/or the PCA, in order to determine whether 15 tion to the detected fault, then weighting of that particular
any particular parameters associated with any faults or abnor parameter (e.g., the pressure data) may be increased to make
malities detected that are associated with the processing of the system 300 more sensitive to any variations in that param
semiconductor wafers 105 is actually a significant fault eter. Similarly, if the system 300 indicates that no significant
(block 810). In other words, the system 300 determines contribution to the fault was provided by a particular param
whether the abnormality or fault indication relates to an actual eter, the weighting of that parameter to the fault detection or
fault. The system 300 also analyzes the fault data to determine PCA may be reduced. In other cases, the system 300 may
whether any parameter that was flagged did indeed provide a determine that the weighting of a particular parameter remain
significant contribution to the fault or abnormality. In one unchanged. Therefore, the weighting of any parameter asso
embodiment, the significant contribution may relate to a ciated with the processing of semiconductor wafers 105,
determination of the importance of the parameter, as it relates 25 including the parameters illustrated in the exemplary matrix
to the fault indication. In another embodiment, the significant provided in FIG.4, may be modified.
contribution may relate to a causation relation between the           Based upon the determination whether to increase,
parameter and the fault indication.                                decrease, or leave unchanged the weighting of the factors
   An example relating to the significant contribution to a relating to the faults, the system 300 may dynamically add
fault or abnormality is provided below. For example, a pro 30 weight to the factors that caused the fault (block 840), reduce
cess model may have a pressure parameter (P), a temperature the weight to the factors that caused the fault (block 850), or
parameter (T), a RF power parameter (R), and a gas flow rate leave the weighting of the factors unchanged (block 860).
parameter (G). Initially, the weighting for each of these Based upon the dynamic adjustment of the weighting, the
parameters (i.e., P. T. R. G) may equal to 1, e.g., a parameter new weighted factors/parameters are provided for perform
matrix may provide that P. T. R. G=1, 1, 1, 1). After a wafer 35 ing additional fault detection and/or PCA (block 870). There
lot is processed, the fault/abnormality contribution plot sig fore, the weighting of the parameters may be dynamically
nature may change to P. T. R. G=0,0.2, 3, -2.5. If the adjusted on a continuous basis based upon various operations
system 300 or a user determines that the fault is an actual and resulting fault detection analysis and/or PCA performed
fault, the various contributions relating to each parameter on the data relating to the processing of semiconductor wafers
may be examined. In the present example, the system 300 40 105. The newly weighted factors may cause a reduction of
may determine that the parameter R and G contributed most false fault indications and increase the sensitivity of param
to the fault or abnormality, since R and G had the highest eters that may actually cause significant faults or abnormali
magnitude. Accordingly, the system 300 may modify the ties. Hence, a more accurate assessment of the condition of
parameter weighting according to an algorithm for those the processing tools 310 performing the processes on the
parameters that impacted or significantly contributed to the 45 semiconductor wafers 105 may be performed, resulting in a
fault. Therefore, the system 300 may then provide a new more efficient operation of processing tools 310 and reduced
parameter weighting value that may be represented by the down times in the manufacturing areas. Therefore, utilizing
matrix P. T. R. G=1, 1, 1.1, 1.1. The system 300 may then embodiments of the present invention, a more effective and
process another wafer lot, and a fault may be detected. A user accurate process adjustment may be performed to achieve
or the system 300 may then determine that the fault is not an 50 more accurate semiconductor wafer 105 characteristics and
actual fault. Based upon this determination, the system 300 improved yields.
may examine the contribution plot and make a determination            The principals taught by the present invention can be
that the parameters P and R contributed significantly to the implemented in an Advanced Process Control (APC) Frame
“false' fault. In response, the system 300 may modify the work, such as a CATALYSTTM system formerly offered by
weighting according to an algorithm for those factors. For 55 KLA Tencor, Inc. The APC framework is a preferred platform
example, the new weighting factors may be represented by from which to implement the control strategy taught by the
the matrix P. T. R. G=0.9, 1, 1, 1.1. The algorithm to present invention. In some embodiments, the APC framework
determine which parameters to adjust based upon contribu can be a factory-wide software system; therefore, the control
tion plot values and how to adjust the weightings for those strategies taught by the present invention can be applied to
parameters may be varied by different implementation (e.g., 60 virtually any of the semiconductor manufacturing tools on the
always add or subtract 0.1, multiply by 1.1 or 0.9, always factory floor. The APC framework also allows for remote
modify the top two parameters, always modify the weightings access and monitoring of the process performance. Further
for any parameters with a value greater that 1.5, etc.). The more, by utilizing the APC framework, data storage can be
above examples were provided for exemplary illustrative pur more convenient, more flexible, and less expensive than local
poses, other parameters may be weighted and/or adjusted 65 drives. The APC framework allows for more sophisticated
differently and still remain within the scope and spirit of the types of control because it provides a significant amount of
present invention.                                                 flexibility in writing the necessary software code.
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   Deployment of the control strategy taught by the present              8. The method of claim 1, wherein adjusting in said com
invention onto the APC framework could require a number of puter said weighting associated with said parameter based
Software components. In addition to components within the upon said relationship of said parameter to said detected fault
APC framework, a computer script is written for each of the further comprises decreasing in said computer said weighting
semiconductor manufacturing tools involved in the control associated with said parameter based upon said relationship.
system. When a semiconductor manufacturing tool in the                   9. The method of claim 1, wherein determining in said
control system is started in the semiconductor manufacturing computer said relationship of aparameter relating to said fault
fab, it generally calls upon a script to initiate the action that is detection analysis to said detected fault further comprises
required by the process controller, such as the overlay con determining in said computer a relationship between at least
troller. The control methods are generally defined and per 10 one of pressure data, temperature data, humidity data, or gas
formed in these scripts. The development of these scripts can flow rate data associated with said processing of said work
comprise a significant portion of the development of a control
system. The principals taught by the present invention can be piece, to said detected fault.
implemented into other types of manufacturing frameworks.                 10. The method of claim 1, further comprising:
   The particular embodiments disclosed above are illustra          15   receiving  in said computer metrology data relating to pro
tive only, as the invention may be modified and practiced in                cessing  said workpiece;
different but equivalent manners apparent to those skilled in            receiving in said computer tool state data relating to pro
the art having the benefit of the teachings herein. Further                 cessing said workpiece; and
more, no limitations are intended to the details of construction         correlating in said computer said metrology data and said
or design herein shown, other than as described in the claims               tool state data with said fault data to characterize a fault.
below. It is therefore evident that the particular embodiments           11. The method of claim 10, wherein said tool state data
disclosed above may be altered or modified and all such further comprises at least one of pressure data, temperature
variations are considered within the scope and spirit of the data, humidity data, or gas flow rate data associated with said
invention. Accordingly, the protection sought herein is as set processing of said workpiece.
forth in the claims below.                                          25    12. The method of claim 1, wherein performing in said
                                                                       computer said fault detection analysis further comprises per
   What is claimed:                                                    forming a principal component analysis (PCA) relating to
   1. A method, comprising:                                            said processing of said workpiece.
   performing in a computer a fault detection analysis relating           13. The method of claim 12, wherein performing in said
      to processing of a workpiece;                                 30 computer said principal component analysis further com
   determining in a said computer a relationship of a param prises utilizing a PCA model in said computer to perform said
      eter relating to said fault detection analysis to a detected PCA, wherein said parameter is an input parameter to said
     fault;                                                            PCA model.
   adjusting in said computer a weighting of said parameter         14. The method of claim 1, wherein adjusting in said com
      based upon said relationship of said parameter to said 35 puter said weighting associated with said parameter based
      detected fault; and                                         upon said relationship of said parameter to said detected fault
   performing in said computer the fault detection analysis further comprises increasing in said computer said weighting
      relating to processing of a Subsequent workpiece using associated with said parameter based upon said relationship.
      said adjusted weighting.                                      15. The method of claim 14, wherein increasing in said
   2. The method of claim 1, wherein said workpiece com 40 computer said weighting associated with said parameter
prises a semiconductor wafer.                                     based upon said relationship further comprises requiring in
   3. The method of claim 1, wherein determining in said said computer a smaller fluctuation of said parameter during
computer a relationship of a parameter relating to said fault said fault detection analysis to determine that a fault associ
detection analysis to a detected fault further comprises deter ated with said processing of said workpiece has occurred.
mining in said computer a causation of a parameter relating to 45 16. The method of claim 15, wherein increasing in said
said fault detection analysis to a detected fault.                computer said weighting associated with said parameter
   4. The method of claim 1, wherein determining a relation based upon said relationship further comprises requiring in
ship of a parameter relating to said fault detection analysis to said computer a larger fluctuation of said parameter during
a detected fault further comprises determining in said com said fault detection analysis to determine that a fault associ
puter an importance of a parameter relating to said fault 50 ated with said processing of said workpiece has occurred.
detection analysis to a detected fault.                             17. An apparatus, comprising:
   5. The method of claim 1, further comprising:                    means for performing a fault detection analysis in a com
   designated in said computer whether said detected fault is          puter relating to processing of a workpiece;
      a significant fault; and                                      means for determining in said computer a relationship of a
   adjusting said weighting associated with said parameter 55          parameter relating to said fault detection analysis to a
      based responsive to designating said detected fault as a         detected fault;
      significant fault.                                            means for adjusting in said computer a weighting of said
   6. The method of claim 1, wherein performing in said                parameter based upon said relationship of said param
computer said fault detection analysis further comprises uti           eter to said detected fault; and
lizing a fault detection model to perform said fault detection, 60 means for performing in said computer the fault detection
wherein said parameter is an input parameter to said fault             analysis relating to processing of a Subsequent workpe
detection model.                                                       ice using adjusted weighting.
   7. The method of claim 1, wherein determining in said            18. A non-transitory computer readable program storage
computer said relationship of aparameter relating to said fault device encoded with instructions that, when executed by a
detection analysis to a detected fault further comprises deter 65 computer, performs a method, comprising:
mining in said computer whether said parameter is a signifi         performing a fault detection analysis relating to processing
cant factor associated with said fault.                                of a workpeice;
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   determining a relationship of a parameter relating to said ing said weighting associated with said parameter based upon
     fault detection analysis to a detected fault;                said relationship further comprises requiring a smaller fluc
   adjusting a weighting of said parameter based upon said tuation of said parameter during said fault detection analysis
     relationship of said parameter to said detected fault; and to determine that a fault associated with said processing of
   performing the fault detection analysis relating to process said26.workpiece    has occurred.
                                                                        The non-transitory computer readable program storage
     ing of a subsequent workpeice using said adjusting
     weighting.                                                   device encoded with instructions that, when executed by a
   19. The non-transitory a computer readable program stor computer,         performs the method of claim 18, wherein adjust
age device encoded with instructions that, when executed by 10 ing    said weighting associated with said parameter based upon
                                                                  said relationship of said parameter to said detected fault fur
a computer, performs the method of claim 18, wherein per ther          comprises decreasing said weighting associated with
forming said fault detection analysis further comprises utiliz said parameter     based upon said relationship.
ing a fault detection model to perform said fault detection,        27. The  non-transitory  computer readable program storage
wherein said parameter is an input parameter to said fault
detection model.                                                  device encoded with instructions that, when executed by a
   20. The non-transitory computer readable program storage 15 computer,
                                                                  ing said
                                                                             performs the method of claim 26, wherein increas
                                                                           weighting  associated with said parameter based upon
device encoded with instructions that, when executed by a said relationship further         comprises requiring a larger fluctua
computer, performs the method of claim 18, wherein deter
mining said relationship of a parameter relating to said fault tion of said parameter during said fault detection analysis to
                                                                  determine that a fault associated with said processing of said
detection analysis to a detected fault further comprises deter workpiece
mining whether said parameter is a significant factor associ                  has occurred.
ated with said fault.                                               28. The  non-transitory  computer readable program storage
   21. The non-transitory computer readable program storage device        encoded with instructions that, when executed by a
device encoded with instructions that, when executed by a computer, performs the method of claim 18, further compris
computer, performs the method of claim 18, wherein deter 1ng:acquiring metrology data relating to processing said work
mining said relationship of a parameter relating to said fault 25      piece;
detection analysis to said detected fault further comprises         acquiring  tool state data relating to processing said work
determining a relationship between at least one of pressure            piece; and
data, temperature data, humidity data, or gas flow rate data
associated with said processing of said workpiece, to said 30 correlating       said metrology data and said tool state data with
                                                                       said fault data to characterize a fault.
detected fault.
   22. The non-transitory computer readable program storage         29. The non-transitocV computer readable program storage
                                                               device encoded with instructions that, when executed by a
device encoded with instructions that, when executed by a computer,
computer, performs the method of claim 18, wherein per ing said toolperforms         the method of claim 28, wherein acquir
                                                                             state data relating to processing said workpiece
forming said fault detection analysis further comprises per further comprises       acquiring at least one of pressure data,
forming a principal component analysis (PCA) relating to 35 temperature data, humidity       data, or gas flow rate data associ
said processing of said workpiece.
   23. The non-transitory computer readable program storage    ated with  said processing  of said workpiece.
                                                                  30. The  non-transitory computer
device encoded with instructions that, when executed by a device encoded with instructions that,     readable program storage
computer, performs the method of claim 22, wherein per computer, performs the method of claimwhen                executed by a
                                                                                                           28, further compris
forming said principal component analysis further comprises 40 ing
utilizing a PCA model to perform said PCA, wherein said faultdetermining         a relationship of a parameter relating to said
                                                                     detection analysis to a detected fault further comprises
parameter is an input parameter to said PCA model.
   24. The non-transitory computer readable program storage determining a causation of a parameter relating to said fault
device encoded with instructions that, when executed by a 45 detection
                                                                  31. The
                                                                         analysis to a detected fault.
                                                                           non-transitory computer readable program storage
computer, performs the method of claim 18, wherein adjust
                                                               device encoded with instructions that, when executed by a
ing said weighting associated with said parameter based upon computer,
said relationship of said parameter to said detected fault fur             performs the method of claim 28, further compris
ther comprises increasing said weighting associated with said ing determining a relationship of a parameter relating to said
parameter based upon said relationship.                        fault detection analysis to a detected fault further comprises
   25. The non-transitory computer readable program storage 50 determining an importance of a parameter relating to said
device encoded with instructions that, when executed by a fault detection analysis to a detected fault.
computer, performs the method of claim 24, wherein increas
